979 F.2d 848
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lee MUSICK, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR;  Clinchfield CoalCompany, Respondents.
    No. 92-1828.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 16, 1992Decided:  November 19, 1992
    
      On Petition for Review of an Order of the Benefits Review Board.  (90-1271-BLA)
      Lee Musick, Petitioner Pro Se.
      Patricia May Nece, Jill M. Otte, United States Department of Labor, Washington, D.C.;  Timothy Ward Gresham, Penn, Stuart, Eskridge &amp; Jones, Abingdon, Virginia, for Respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Lee Musick seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp. 1992).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Musick v. Director, Office of Workers' Compensation Programs, No. 901271-BLA (B.R.B. June 23, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    